1 LOCKRIDGE GRINDAL NAUEN P.L.L.P.
     ROBERT K. SHELQUIST
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     [Additional Counsel on Signature Page]
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9
                                  UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
     RICHARD DAVID CLASSICK, JR.                Case No. 2:18-cv-02344-JAM-AC
12   Individually and on Behalf of All Others
     Similarly Situated,                        CLASS ACTION
13
                                  Plaintiff,
14
              v.                                SECOND STIPULATION AND ORDER
15                                              TO EXTEND DATES
     SCHELL & KAMPETER, INC. d/b/a
16   DIAMOND PET FOODS, and DIAMOND
     PET FOODS INC.,
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18                                Defendants.

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                       SECOND STIPULATION TO EXTEND DATES
 1          Plaintiff RICHARD DAVID CLASSICK, JR. and Defendant SCHELL & KAMPETER,
 2 INC. d/b/a DIAMOND PET FOODS (also improperly named as Diamond Pet Foods Inc.),
 3 collectively referred to as the “Parties,” by and through their respective counsel, hereby submit
 4 this Stipulation as follows:
 5          Whereas, the parties have completed certain party depositions and defendant has completed
 6 document production.
 7          Whereas, the parties are engaging in meet and confers concerning the document production
 8 and attempting to schedule all other parties depositions.
 9          Whereas, the parties desire to further extend the class certification and expert deadlines and
10 the discovery cutoff by two months.
11          Therefore, the parties would like to further extend the briefing schedule on Plaintiff’s
12 motion for class certification and the related expert disclosures as set forth below:
13
14                                     Old Date                          New Date

15    Deadline to file Motion for 12/21/2020                             2/22/2021
      Class Certification and serve
16    Plaintiff's expert disclosures
17    and reports

18    Fact discovery cut-off           1/22/2021                         3/22/2021

19    Deadline for Plaintiff to        2/8/2021                          4/8/2021
      produce experts for
20    deposition
21    Deadline to amend pleadings      Plaintiff proposed 12/17/2021 Plaintiff proposed
22                                                                   012/17/2021
                                       Defendant proposed
                                       09/30/2019                        Defendant proposed
23                                                                       09/30/2019
24    Deadline to file opposition to 3/22/2021                           5/21/2021
25    Motion for Class Certification
      and serve Defendant’s expert
26    disclosures and reports

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                         SECOND STIPULATION TO EXTEND DATES
1                                  Old Date                       New Date

2    Deadline for Defendants to    4/19/2021                      6/18/2021
     produce experts for
3    deposition
4    Deadline to file reply        5/10/2021                      7/9/2021
5    regarding Motion for Class
     Certification
6
     Class Certification Hearing   6/15/2021 at 1:30 p.m.
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     IT IS SO STIPULATED AND AGREED.
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10
11   Dated: November 2, 2020                  LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                              Robert K. Shelquist
12                                            Rebecca A. Peterson (241858)
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14                                            By: s/ Rebecca A. Peterson
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                       SECOND STIPULATION TO EXTEND DATES
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20                                Attorneys for Plaintiff
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     Dated: November 2, 2020      SHOOK HARDY & BACON L.L.P.
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                     SECOND STIPULATION TO EXTEND DATES
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                  FOODS (also improperly named as Diamond Pet
7                 Foods Inc.)

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     SECOND STIPULATION TO EXTEND DATES
                                    ATTESTATION OF SIGNATURE
1
            Pursuant to Civil L.R. 131(e), the undersigned hereby attests that concurrence in the filing of
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     this document has been obtained from all signatories hereto
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     Dated: November 2, 2020                       s/ Rebecca A. Peterson
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                         SECOND STIPULATION TO EXTEND DATES
1                                           ORDER
2         The parties’ above-referenced stipulation is hereby GRANTED.
3         IT IS SO ORDERED.
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     DATED: November 2, 2020                  /s/ John A. Mendez
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                                              THE HONORABLE JOHN A. MENDEZ
6                                             UNITED STATES DISTRICT COURT JUDGE
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                     SECOND STIPULATION TO EXTEND DATES
